16-13607-smb Doc 436-3 Filed 08/08/18 Entered 08/08/18 14:42:56 Exhibit C:
   Table of Sources and Uses of Available Cash and Restricted Funds Pg 1 of 2


                                  Exhibit C

       Table of Sources and Uses of Available Cash and Restricted Funds
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           Table of Sources and Uses of Available Cash and Restricted Funds Pg 2 of 2

WONDERWORK (1:16-bk-13607)
Exhibit C- Restricted and Unrestricted Cash In-Flows/ Out-Flows

Estimates as of 8/4/2018
Cash In-Flows:
Cash on hand(1)                                                                                                                        $18,642,414
                                   (2)
Plan Funding from Sale Proceeds                                                                                                          1,119,395
HMS Equalization Payment(3)                                                                                                                726,500
HMS Equalization Payment- Reserve(4)                                                                                                     372,688
Total Cash In-Flows                                                                                                                   $20,860,997

Cash Out-Flows:
Restricted Funds Granted to HMS (5)                                                                                                    $10,055,820
Restricted Funds Granted to MiracleFeet (5)                                                                                              2,556,131
Restricted Funds Granted to Resurge International (5)                                                                                    1,724,203
Total Cash Out-Flows ( Restricted Funds )                                                                                             $14,336,153
                                 (6)(7)
Administrative Expense Claims                                                                                                               97,556
                        (8)(9)
Professional Fee Claims                                                                                                                  4,921,876
Payment of Claims Under the Plan:
 Class 1: Secured Claims                                                                                                                        -
 Class 2: Other Priority Claims                                                                                                                 -
 Class 3: HMS General Unsecured Claim                                                                                                           -
 Class 4: General Unsecured Claims(10)                                                                                                   1,505,412
   Impact Loans                                                                                                                            958,792
   HMS Equalization Claim- Reserve(4)                                                                                                      372,688
   All Other GUC                                                                                                                           173,932
Total Payment of Claims Under the Plan:                                                                                                  1,505,412

Total Cash Out-Flows ( Unrestricted Funds )                                                                                             $6,524,844

Total Cash Out-Flows ( Restricted and Unrestricted Funds )                                                                            $20,860,997

Notes:
 1.) Trustee Bank Balance are as of April 26, 2018 and will be rolled forward to the Effective Date.
 2.) Assumes ability to consummate Plan commitments under the existing terms of the consortium APA with MiracleFeet and ReSurge
       International.
 3.) Assumes equalization payment from HMS of unrestricted funds to the Wonderwork Estate. To the extent any estimated expenses
       relating to any of the underlying liability claims being paid pursuant to the Plan are increased (or decreased) this amount will be adjusted
       to reflect equal % net recovery for GUC creditors receiving unrestricted funds and HMS receiving restricted funds. Under the HMS
       Settlement Agreement, HMS may elect alternative mechanics to achieve equal treatment for GUC creditors.
 4.) HMS Equalization Claim- Reserve is based on the potential recovery of Brian Mullaney's unpaid salary and unreimbursed expenses
     scheduled claim for $641,320.07. The escrowed balance reflects potential total claim recovery at the current % recovery for GUC
     creditors. To the extent the claim is waived, or disallowed escrowed funds will be returned to HMS.
 5.) Restricted cash balances transferred pursuant to the Confirmation of the Plan are net of $1,592,905 for administrative cost adjustments
     approved by the NYAG. Amounts are as of April 26, 2018 and will be adjusted.
 6.) Operating/Non-Operating Net Cash Flow- projected total net cash flow from 5/1/18 through 8/4/18, subject to change prior to the
     Effective Date. Expenses are not obligations under the Plan.
 7.) Other Costs- includes assumed post Effective Date payments for quarterly UST fees.
 8.) Admin Claims- Professional Fees (accrued & forecasted)- amounts include all settled or otherwise accrued, projected, and unpaid fees
      through 8/4/2018.
 9.) Assumes Carter Ledyard & Milburn LLP ("CLM") claim is paid at $750,000. This will be reduced to the extent CLM is paid a lessor
      amount.
 10.) Claims are included as filed except for one non-substantive objection (a duplicate for Corporate Press) and the assumed projected setoff,
      or settlement, or claim disallowance, against Brian Mullaney. Includes Plan assumptions that HMS and the Thompson Foundation waives
      their General Unrestricted Claim against the funds to be distributed by the Estate.




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